[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION RE: MOTION FOR JUDGMENT
The court has reviewed the record certified to it by the Board of Review, the defendant's memorandum of law, the plaintiff's pleading and has considered the plaintiff's remarks that she made at the short calendar of July 31, 2001. The decision of the Board of Review follows reasonably from the facts found and correctly applies the law to those facts. The decision is not arbitrary, capricious or contrary to law. The decision is affirmed. The appeal is dismissed.
BY THE COURT,
MILTON H. BELINKIE JUDGE TRIAL REFEREE